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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )
                                     )                4:07CR3111
           v.                        )
                                     )
TODD LEE CUNNINGHAM JR.,             )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     1.   Trial of this matter is continued until further order.

     2. Speedy trial calculation of time has been suspended.
See order, filing 30.


     DATED this 23rd day of October, 2007.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
